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                                UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                      Case No. 1:17-cv-00071
                  Plaintiff,
                                                      COMPLAINT
         v.

 BRIAN E. URBUSH,

                  Defendant.



           COMES NOW the United States of America, and brings this cause of action against

the above-named Defendant to recover unpaid student loans and alleges, upon information and

belief, as follows:

           1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1345 for the reason

that the United States of America is the plaintiff.

           2. Defendant is an individual residing in the District of Idaho, which is within the

jurisdiction of this Court.

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             3. Pursuant to the Higher Education Act of 1965, as amended, 20 U.S.C. §1087a et seq.

(known as the William D. Ford Federal Direct Loan Program), Defendant, on or about October 26,

2004, executed and delivered a promissory note. The note is set forth in the attached Exhibit A.

The note is described in the Certificate of Indebtedness, attached as Exhibit B.

             4. The U.S. Department of Education disbursed $30,549.96 under the promissory

note on or about November 11, 2004, with interest at the rate of 7.625% per annum. See

Exhibit B.

             5. On or about December 2, 2010, the Defendant defaulted on the note. Written

demand has been made upon the Defendant for payment of the amount due, but the amount

due remains unpaid.

             6. Pursuant to 34 C.F.R. § 685.202(b), a total of $5,792.26 in unpaid interest was

capitalized and added to the principal balance.

             7. Pursuant to the Certificate of Indebtedness dated November 23, 2016, attached

as Exhibit B, the Defendant owes the following on the note as of October 24, 2016:

$36,342.22 principal and $25,960.00 interest, for a total owing on October 24, 2016 of

$62,302.22. Interest accrues at the rate of $7.59 per day. Therefore, Defendant owes, as of

February 13, 2017, the sum of $63,152.53.

             8. Under and pursuant to 20 U.S.C. § 1091a, Congress eliminated any and all

statutes of limitations Defendant may have otherwise pleaded in defense of this action.

             WHEREFORE, because of Defendant’s breach of contract, Plaintiff demands

judgment against the Defendant as follows:




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          a. in the amount of $62,302.22 ($36,342.22 principal and $25,960.00 interest as of

              October 24, 2016);

          b. interest to continue to accrue from October 24, 2016, at the rate of 7.625% per

              annum until the date of judgment;

          c. interest from the date of judgment at the statutory rate pursuant to 28 U.S.C.

              § 1961 until paid in full;

          d. costs of suit and any statutory fees, including but not limited to, a filing fee of

              $400.00, as authorized by 28 U.S.C. § 2412(a)(2); and

          e. any other relief that the Court may deem equitable and just.

Respectfully submitted this 14th day of February, 2017.

                                                   WENDY J. OLSON
                                                   UNITED STATES ATTORNEY
                                                   By:


                                                  /s/ William M. Humphries
                                                   WILLIAM M. HUMPHRIES
                                                   Assistant United States Attorney




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